Case 22-19361-MBK             Doc 1918       Filed 11/27/23 Entered 11/27/23 12:36:49             Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                                Case No.:      ___________________
                                                                                    22-19361
In Re:
BLOCKFI INC., et al.,                                           Chapter:                11
                                                                               ___________________

                            Debtors.                            Hearing Date: ___________________

                                                                Judge:                 MBK
                                                                                ___________________



                                           STATUS CHANGE FORM

   Pursuant to D.N.J. LBR 9013-3, the undersigned notifies the court that the matter identified below
   has been:

                             ☐ Settled             ☐ Withdrawn

           Docket #1347-Motion to Estimate Amount of FTX Claims against Debtor; and
   Matter: ___________________________________________________________________________

   #1376-Objection to FTX Claims.
   __________________________________________________________________________________



          November 27, 2023
   Date: ______________________                             /s/ Daniel M. Stolz
                                                            ________________________________
                                                            Signature




                                                                                                    rev.8/1/15
